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3
                              UNITED STATES DISTRICT COURT
4
                                    DISTRICT OF NEVADA
5
                                                ***
6      UNITED STATES OF AMERICA,                      Case No. 3:19-cr-00010-MMD-WGC

7
                                   Plaintiff,
8            v.

9      SAUD ALESSA,

10
                                Defendant.
11

12     UNITED STATES OF AMERICA,                      Case No. 3:20-cr-00021-MMD-CLB
13

14                                 Plaintiff,
             v.
15
       WYATT ELMS,
16

17
                                Defendant.
18

19     UNITED STATES OF AMERICA,                      Case No. 3:20-cr-00026-MMD-WGC
20

21                                 Plaintiff,                    ORDER
             v.
22
       GUSTAVO CARRILLO-LOPEZ,
23

24
                                Defendant.
25

26
27          The Court granted in part a motion for access to jury selection records and

28    materials in United States v. Knight, Case No. 3:19-cr-00038-MMD-CLB, ECF No. 68 (D.
     Case 3:19-cr-00010-MMD-WGC Document 123 Filed 10/20/20 Page 2 of 2



1     Nev. Oct. 20, 2020) (the “Order”). The above-referenced cases each contain a similar

2     motion for the same jury selection records and materials. (United States v. Alessa, Case

3     No. 3:19-cr-00010-MMD-WGC (ECF No. 107); United States v. Elms, Case No. 3:20-cr-

4     0021-MMD-CLB (ECF No. 31); United States v. Carrillo-Lopez, Case No. 3:20-cr-00026-

5     MMD-WGC (ECF No. 25.) The Court grants in part and denies in part these three motions

6     in the same way as provided for, and for the reasons stated, in the Order. The Court

7     hereby incorporates by reference the Order from Knight and directs the Clerk of Court to

8     provide the requested information in the above-referenced cases following the same

9     procedures provided for in the Order.

10          DATED THIS 20th Day of October 2020.

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                                              MIRANDA M. DU
13                                            CHIEF UNITED STATES DISTRICT JUDGE
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